Case 3:20-cr-00042-GMG-RWT Document 23 Filed 11/17/20 Page 1 of 9 PageID #: 85


                                                                                           NOV1
                      UNITED STATES DISTRICT COURT FOR THE                         Ci~ ~            72020
                       NORTHERN DISTRICT OF WEST VIRGINIA
                                                                                               ‘~

   UNITED STATES OF AMERICA,


                                                    Criminal No.     _________________________

   V.
                                                    Violations:      18   U.S.C.   § 371
   TIMOTHY JOHN WATSON,                                              18   U.S.C.   § 922(o)
                                                                     26   U.S.C.   § 5861(a)
                               Defendant.                            26   U.S.C.   § 5861(d)




                                       INDICTMENT

        The Grand Jury charges that:

                                          COUNT ONE

                    (Conspiracy to Commit Offenses against the United States)

        1.      At all relevant times, the defendant, TIMOTHY JOHN WATSON, was an

 adherent of an extremist political movement referred to as “Boogaloo,” a term referencing an

 impending civil war or violent uprising against the government for perceived incursions on U.S.

 Constitutional rights, including the Second Amendment.

        2.     At all relevant times, the defendant, TIMOTHY JOHN WATSON, operated an

 online retailer named “Portable Wall Hanger” as a front to sell machinegun conversion devices for

 AR- 15 style rifles, also known as “drop in auto sears.” The term “machinegun” is a weapon which

 shoots or is designed to shoot, or can readily be restored to shoot, automatically, more than one

 shot, without manual reloading, by a single function of the trigger. A “drop in auto sear” is a
Case 3:20-cr-00042-GMG-RWT Document 23 Filed 11/17/20 Page 2 of 9 PageID #: 86



 machinegun, as defined by federal law, because it is a part designed and intended solely and

 exclusively, or combination of parts designed and intended, for use in converting a weapon into a

 machine gun.

         3.      During a period commencing on or about January 2, 2020, and ending on or about

 November 2, 2020, in Jefferson County, in the Northern District of West Virginia, and elsewhere,

 the defendant, TIMOTHY JOHN WATSON, did knowingly combine, conspire, confederate,

 agree and have a tacit understanding with others to commit offenses against the United States.

                                   OBJECTS OF CONSPIRACY

         4.     It was a purpose and object of the conspiracy to unlawfully engage in the business

 of manufacturing machineguns, in violation of Title 26, United States Code, Section 5861(a).

         5.      It was a further purpose and object of the conspiracy to illegally possess and

 transfer machineguns, in violation of Title 18, United States Code, Section 922(o).

                                       MANNER AND MEANS

 It was part of the conspiracy that:

        6.      The defendant would use a 3D printer to manufacture drop in auto sears, which

 would convert an AR-type firearm into a machinegun.

        7.      The defendant would operate an online retailer named “Portable Wall Hanger” as

 a front to sell the drop in auto sears, which would be marketed as “portable wall hangers” with the

 purported purpose of hanging clothing or keys on a wall.

        8.      Through online advertising and online communications, the defendant would signal

 to his prospective customers that the “portable wall hangers” were, in fact, drop in auto sears and

 that he was an adherent of the Boogaloo movement.
Case 3:20-cr-00042-GMG-RWT Document 23 Filed 11/17/20 Page 3 of 9 PageID #: 87



         9.     A conspirator, usually also a Boogaloo adherent, would purchase the drop in auto

 sears from the defendant via a method intended to conceal the identity of the conspirator.

         10.    The defendant would ship the drop in auto sears, packaged as “portable wall

 hangers,” to the conspirator.

         11.    A conspirator would contact the defendant on an encrypted e-mail account with

 any questions about how to install the drop in auto sears into an AR-type firearm.

         12.    A conspirator would install a drop in auto sear into an AR-type firearm to convert

 the firearm into a machinegun.

                                          OVERT ACTS

        In furtherance of the conspiracy, and to effect the objects thereof, a conspirator committed

 at least one of the following overt acts, and others, in the Northern District of West Virginia, and

 elsewhere:

        13.     On or about January 2, 2020, the defendant registered a website called

 portablewallhanger.simplesite.com.

        14.     On or about January 2, 2020, the defendant created the e-mail account

 portablewallhanger@mail.com.

        15.     On or about January 2, 2020, the defendant created a PayPal account.

        16.     On or about January 16, 2020, the defendant created the Instagram account with the

 username ~Portable_Wal1_Hanger.

        17.     On or about March 20, 2020, the defendant created a PayPal account.

        18.     On or about March 20, 2020, the defendant registered a website called

 portablewallhanger.com.

        19.     On or about March 26, 2020, the defendant created a Stamps.com account.
Case 3:20-cr-00042-GMG-RWT Document 23 Filed 11/17/20 Page 4 of 9 PageID #: 88



            20.    In or about April 2020, the defendant created the encrypted e-mail account

 portablewal1hanger~protonmail.com.

            21.    On or about August 24, 2020, a conspirator in Minnesota utilized PayPal to

 purchase drop in auto sears from the defendant via the website portablewallhanger.com.

            22.    On or about August 25, 2020, the defendant shipped drop in auto sears to a

 conspirator in Minnesota.

            23.    On or about August 29, 2020, the defendant sent an encrypted e-mail to a

 conspirator in Minnesota.

            24.    On or about August 31, 2020, the defendant shipped drop in auto sears to a

 conspirator in Minnesota.

            25.    On or about October 19, 2020, the defendant shipped drop in auto sears to a P.O.

 Box in Pennsylvania.

            26.    On or about November 2, 2020, the defendant printed drop in auto sears with a 3D

 printer.

            In violation of Title 18, United States Code, Section 371.
Case 3:20-cr-00042-GMG-RWT Document 23 Filed 11/17/20 Page 5 of 9 PageID #: 89



                                              COUNT TWO

              (Unlawfully Engaging in the Business of Manufacturing Machineguns)

         1.     Paragraphs 1 through 26 of Count One of this Indictment are incorporated by

 reference as though fully set forth herein.

        2.      Beginning on or about January 2, 2020, and continuing up to and including

 November 2, 2020, in Jefferson County, West Virginia, within the Northern District of West

 Virginia, the defendant, TIMOTHY JOHN WATSON, did knowingly engage in the business of

 manufacturing and dealing in firearms, to wit: machinegun conversion devices for AR- 15 style

 rifles, also known as “drop in auto sears,” parts designed and intended solely and exclusively, or

 combination of parts designed and intended, for use in converting a weapon into a machinegun,

 without having paid the special occupational tax required by 26 U.S.C.   §   5801 and without having

 registered as required by 26 U.S.C.      §    5802, in violation of Title 26, United States Code,

 Sections 5861(a) and 5871.
Case 3:20-cr-00042-GMG-RWT Document 23 Filed 11/17/20 Page 6 of 9 PageID #: 90



                                          COUNT THREE

                          (Illegal Possession and Transfer of Machineguns)

         1.     Paragraphs 1 through 26 of Count One of this Indictment are incorporated by

 reference as though fully set forth herein.

        2.      Beginning on or about January 2, 2020, and continuing up to and including

 November 2, 2020, in Jefferson County, West Virginia, within the Northern District of West

 Virginia, the defendant, TIMOTHY JOHN WATSON, did knowingly possess and transfer

 machineguns, to wit: machinegun conversion devices for AR- 15 style rifles, also known as “drop

 in auto sears,” parts designed and intended solely and exclusively, or combination of parts

 designed and intended, for use in converting a weapon into a machinegun, in violation of Title 18,

 United States Code, Sections 922(o) and 924(a)(2).
Case 3:20-cr-00042-GMG-RWT Document 23 Filed 11/17/20 Page 7 of 9 PageID #: 91



                                         COUNT FOUR

                          (Possession of Unregistered Firearm Silencer)

        On or about November 2, 2020, in Jefferson County, in the Northern District of West

 Virginia, the defendant, TIMOTHY JOHN WATSON, did knowingly possess a firearm silencer

 that was not registered to him in the National Firearms Registration and Transfer Record, in

 violation of Title 26, United States Code, Sections 5841, 5861(d), and 5871.
Case 3:20-cr-00042-GMG-RWT Document 23 Filed 11/17/20 Page 8 of 9 PageID #: 92



                                  FORFEITURE ALLEGATION

                                         Gun Control Act
                                       National Firearms Act

         1.     Pursuant to Title 28, United States Code, Section 2461(c), and Title 18, United

 States Code, Section 924(d)(1), the government will seek the forfeiture of any firearm and any

 ammunition involved in or used in any willful violation of Title 18, United States Code, Section

 922(o), including, but not limited to, machinegun conversion devices for AR- 15 style rifles, also

 known as “drop in auto sears.”

        2.      Pursuant to Title 26, United States Code, Section 5872, and Title 26, United States

 Code, Section 2461(c), the government will seek the forfeiture of property as part of the sentence

 imposed in this case; that is, the forfeiture of any firearm involved in any violation of Title 26,

 United States Code, Section 5861, including, but not limited to, machinegun conversion devices

 for AR-iS style rifles, also known as “drop in auto sears,” and a firearm silencer.

        3.      If any of the machinegun conversion devices for AR-iS style rifles, also known as

 “drop in auto sears,” described above, as a result of any act or omission of the defendant:

                a.      cannot be located upon the exercise of due diligence;

                b.      has been transferred or sold to, or deposited with, a third party;

                c.      has been placed beyond the jurisdiction of the court;

                d.      has been substantially diminished in value; or

                e.      has been commingled with other property which cannot be divided without

                        difficulty,
Case 3:20-cr-00042-GMG-RWT Document 23 Filed 11/17/20 Page 9 of 9 PageID #: 93



 the United States of America shall be entitled to forfeiture of substitute property pursuant to Title

 21, United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section

 2461(c).

        All pursuant to 18 U.S.C.   § 924(d) and 28 U.S.C. § 2461(c).
                                                       A true bill,



                                                        /5/
                                                       Foreperson



 /s/
 WILLIAM J. POWELL
 United States Attorney

 Jarod J. Douglas
 Assistant United States Attorney

 Lara Omps-Botteicher
 Assistant United States Attorney




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